
41 N.Y.2d 1007 (1977)
In the Matter of Robert M. Morgenthau, as District Attorney of New York County, Respondent,
v.
Bobby 9x Hopes, Appellant.
In the Matter of Robert M. Morgenthau, as District Attorney of New York County, Petitioner,
v.
James J. Leff, as a Justice of the Supreme Court of the State of New York, Respondent.
Court of Appeals of the State of New York.
Submitted March 7, 1977.
Decided April 7, 1977.
Motion for leave to appeal dismissed upon the ground that the order sought to be appealed from was made in a criminal proceeding and no appeal lies therefrom under the Criminal Procedure Law.
